      Case 4:21-cr-00199-WTM-CLR Document 1 Filed 12/07/21 Page 1 of 5




                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION


UNITED STATES OF AMERICA                       INDICTMENT NO.
                                                                     CR421-0199
                 V.                             18 U.S.C. § 922(g)(1)
                                                Possession of a Firearm by a
BRANDON LAMAR WILLIAMS                          Convicted Felon


                                                18 U.S.C. § 922(g)(3)
                                                Possession of a Firearm by an
                                                Unlawful User of a Controlled
    oc     CSI
                                                Substance
    o      3
    o
  G:—      a                                    21 U.S.C. § 841(a)(1)
           r-                                   Possession with Intent to
            I
           <_>
                                                Distribute a Controlled
   b-t/;   uu
     o     C3                                   Substance
     CO    es

     ID                                         18 U.S.C. § 924(c)
                                                Possession of a Firearm in
                                                Furtherance of a Drug
                                                Trafficking Crime

THE GRAND JURY CHARGES THAT:

                                     COUNT ONE
                      Possession of a Firearm by a Convicted Felon
                                  18 U.S.C. § 922(g)(1)

      On or about August 9, 2021, in Chatham County, within the Southern District

of Georgia, the defendant,

                          BRANDON LAMAR WILLIAMS,

knowing he had been convicted of a crime punishable by imprisonment for a term

exceeding one year, did knowingly possess, in and affecting commerce, a firearm, to

wit, a Jimenez, Model J.A. 380,.380 caliber pistol and Smith & Wesson, Model M&P

Shield, 9-millimeter pistol, which had been transported in interstate and foreign
Case 4:21-cr-00199-WTM-CLR Document 1 Filed 12/07/21 Page 2 of 5
Case 4:21-cr-00199-WTM-CLR Document 1 Filed 12/07/21 Page 3 of 5
Case 4:21-cr-00199-WTM-CLR Document 1 Filed 12/07/21 Page 4 of 5
Case 4:21-cr-00199-WTM-CLR Document 1 Filed 12/07/21 Page 5 of 5
